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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION

Stephen J. Stanley, Jr.                               *   Case No. 3:19-cv-00640-JJH
3942 Latcha Rd.
Millbury, OH 43447,                                   *   Judge Jeffrey J. Helmick

                Plaintiff,                            *   Magistrate Judge J

        vs.                                           *   AMENDED COMPLAINT
                                                          WITH JURY DEMAND ENDORSED HEREON
FCA US, LLC                                           *
c/o CT CORPORATION SYSTEM
4400 EASTON COMMONS WAY                               *
SUITE 125
COLUMBUS OH 43219,                                    *

                Defendants.                           *

                                                      *

                                           ************

        In accordance with the court’s Memorandum Opinion and Order of May 31, 2020, but without

waiving his right to object to or appeal that ruling, Plaintiff Stephen J. Stanley, Jr. complains as follows:

                                                PARTIES

        1. Plaintiff is an adult citizen of the State of Ohio who resides in this judicial district.

        2. Defendant FCA US, LLC (“FCA”), formerly known as Chrysler Group LLC, is a foreign

limited liability company organized under the laws of the State of Delaware, authorized to do business

in the State of Ohio and doing business in this judicial district.

                                   JURISDICTION AND VENUE

        3. This court has jurisdiction to hear this claim pursuant to 29 U.S.C. §2617(a)(2) and 28

U.S.C. §1331.
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          4. Venue is proper pursuant to 28 U.S.C. 1391(b)(2) in that a substantial part of the events or

omissions giving rise to the claim occurred in the Northern District of Ohio, Western Division.

                                                  FACTS

          5. Plaintiff became an employee of FCA or one of its Chrysler predecessors on May 20, 1996,

and provided at least 1,250 hours of service during the twelve months preceding May 31, 2018.

          6. FCA is engaged in commerce or in an industry affecting commerce and employed at least

fifty employees at or within a 75-mile radius of Plaintiff’s worksite for each working day during each

of twenty or more calendar workweeks in the calendar year preceding the events giving rise to this

claim.

          7. Plaintiff missed two days--February 19 and 26, 2018, while he was in the process of

applying for intermittent FMLA leave due to his own serious medical condition.

          8. Defendant denied Plaintiff FMLA coverage for those two days in February, ostensibly

because the medical certification was one day late.

          9. On March 12, 2018, FCA suspended Plaintiff without pay for a period of 33 days, for having

missed those two days.

          10. Plaintiff was entitled to FMLA leave for those two days.

          11. Plaintiff had delivered the paperwork to his doctor in a timely fashion, and it was thus, out

of his direct control.

          12. Defendants unreasonably ignored other extenuating circumstances surrounding the

timeliness of the medical certification including the following: (a) Defendants themselves did not act

in a timely manner to inform Plaintiff of the date the certification was due; (b) Plaintiff did not receive

the notice until February 26, 2018, the date Defendants claim the certification was due; ( c) Plaintiff’s

doctor was not in the office when Plaintiff learned that the certification was due; (d) Plaintiff contacted

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Sedgwick Claims Management Services, Inc., Defendant’s agent, (“SEDGWICK”) by phone,

explained the delay and was promised an extension of time to produce the medical certification; and (d)

Plaintiff’s doctor signed the certification the next day, January 27, 2018, and faxed it to SEDGWICK.

       13. SEDGWICK informed Plaintiff that he was denied FMLA leave for the period prior to

February 26, 2018 because of his failure to submit a medical certification by that date; advised him to

reapply for intermittent leave for the period beginning on February 27, 2018; and Plaintiff complied.

       14. On May 11, 2018, the need arose for Plaintiff to take a day off due to the condition for

which he had applied for FMLA originally, that he designated as a personal day, not knowing the status

of his FMLA application.

       15. Unbeknownst to Plaintiff, due to absences for which he was wrongfully denied FMLA

leave, he was at a stage in FCA’s attendance policy that did not allow him to take any personal days.

       16. On May 31, 2018, Plaintiff was terminated for taking a personal day on May 11, 2018.

       17. At all times relevant, Plaintiff suffered from a serious health condition that on an

intermittent basis prevented him from performing his job.

       18. Plaintiff gave notice to FCA of his intent to take leave, each time he did so.

       19. Defendants denied Plaintiff FMLA leave, disciplined him for taking leave for which he

ought to have been permitted FMLA protection, and ultimately fired him for violating FCA’s attendance

policy counting among the offending absences days that ought to have been protected by the FMLA.

       20. Defendants’ actions interfered with Plaintiff’s rights under the FMLA.

       21. Defendants’ actions were malicious, reckless, and in bad faith.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for reinstatement; back pay including the value of his lost

benefits for the period of his wrongful suspension between March 12 and April 16, 2018, and from May

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31, 2018 until the date of his reinstated, with interest; the value of the tax bonuses, silver status bonus

profit-sharing bonus, and any other bonus or payment paid during the period of his unlawful suspension

or termination; liquidated damages in an amount equal to the lost pay, benefits and bonuses; punitive

damages, and costs, including attorney fees.

                                                 Respectfully submitted,
                                                 /s/ Catherine H. Killam
                                                 Catherine H. Killam (0023887)
                                                 Greenfield, Killam, & Frank, Ltd.
                                                 3450 West Central Avenue, Suite 370
                                                 Toledo, Ohio 43606

                                                 /s/ Matthew B. Bryant
                                                 Matthew B. Bryant (0085991)
                                                 Bryant Legal, LLC
                                                 3450 West Central Avenue, Suite 370
                                                 Toledo, Ohio 43606

                                                 Counsel for Plaintiff

                                          JURY DEMAND
        Plaintiff demands trial by jury of all issues so triable.
                                                 Respectfully submitted,

                                                 /s/ Catherine H. Killam
                                                 Catherine H. Killam (0023887)
                                                 Greenfield, Killam, & Frank, Ltd.
                                                 3450 West Central Avenue, Suite 370
                                                 Toledo, Ohio 43606

                                                 One of Plaintiff’s Counsel




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                                             CERTIFICATE OF SERVICE

          The forgoing document will be filed electronically and will be served by the court’s ECF

system automatically upon the defendant.

                                                              Respectfully submitted,

                                                              /s/ Catherine H. Killam
                                                              Catherine H. Killam (0023887)
                                                              Greenfield, Killam, & Frank, Ltd.
                                                              3450 West Central Avenue, Suite 370
                                                              Toledo, Ohio 43606

                                                              One of Plaintiff’s Counsel

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